                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     at CHATTANOOGA

 UNITED STATES OF AMERICA                      )
                                               )
                                               )
 v.                                            )       Case No. 1:06-CR-140
                                               )
 CORY WINSTON                                  )       COLLIER/CARTER


                              REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on June 25, 2007.

 At the hearing, defendant entered a plea of guilty to Count One of the Indictment, to the extent it

 charges a conspiracy to distribute five kilograms or more of a mixture and substance containing

 cocaine hydrochloride in violation of 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(A), in exchange for

 the undertakings made by the government in the written plea agreement. On the basis of the

 record made at the hearing, I find that the defendant is fully capable and competent to enter an

 informed plea; that the plea is made knowingly and with full understanding of each of the rights

 waived by defendant; that it is made voluntarily and free from any force, threats, or promises,

 apart from the promises in the plea agreement; that the defendant understands the nature of the

 charge and penalties provided by law; and that the plea has a sufficient basis in fact.

        I therefore recommend that defendant's plea of guilty to Count One of the Indictment, to

 the extent it charges a conspiracy to distribute five kilograms or more of a mixture and substance

 containing cocaine hydrochloride in violation of 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(A), be

 accepted, that the Court adjudicate defendant guilty of those charges as set forth in Count One of

 the Indictment, and that the written plea agreement be accepted at the time of sentencing. I


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 further recommend that defendant be taken into custody pending sentencing in this matter.

 Acceptance of the plea, adjudication of guilt, acceptance of the plea agreement, and imposition of

 sentence are specifically reserved for the district judge.

        The defendant’s sentencing date is scheduled for Thursday, October 4, 2007, at 9:00

 a.m.



 Dated: June 25, 2007                                   s/William B. Mitchell Carter
                                                        UNITED STATES MAGISTRATE JUDGE




                                       NOTICE TO PARTIES

        You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or
 proceedings objected to, and must be filed and served no later than ten days after the plea
 hearing. Failure to file objections within ten days constitutes a waiver of any further right to
 challenge the plea of guilty in this matter. See 28 U.S.C. §636(b).




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